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lN THE UNITED STATES DlsTRICT COURT 95 Ju\_ _3 1111 3= 59
FOR THE WESTERN DISTRICT OF TENNESSEE

MEMPHIS DIVISION 11191,,1,15;1.1_1;9919
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UNITED STATES OF AMERICA §
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vS. § NO. 2=05-MJ-00055-sTA
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JUAN DELABRA § @5@,»2524/71 /.dj /

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It is hereby ORDERED that Charles W. Medlin be allowed to proceed Pro Hac Vice

as the of attorney Of record in this matter.

SlGNED Onrhis "l $\ day ,2005.

  

GE PRESIDING

 
 

 

   

UNITED sTATE D"ISIC COURT - WE TER D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
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Honorable J. Breen
US DISTRICT COURT

